Case 09-10138-MFW   Doc 9373-4   Filed 02/05/13   Page 1 of 9




                     EXHIBIT C

               No-Basis Pension Claims
                            Case 09-10138-MFW       Doc 9373-4       Filed 02/05/13     Page 2 of 9

                                                         Exhibit C
                                                No-Basis Pension Claims


Claim to be Expunged
                                       Claim Number
                                       Date Filed                Total Amount         Reason for
Name/Address of Claimant               Case Info                    Claimed           Disallowance

ATALLA, ASHRAF W                       1819                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
15 WAVERLY PL                          8/19/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
SOUTH BRUNSWICK, NJ 08852              NO DEBTOR                                      the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

AVERY, BARBARA A                       1913                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
411 PLAZA DR                           8/20/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
GARNER, NC 27529                       NO DEBTOR                                      the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

BALL, LORETTA E                        6655                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
1709 ENON RD.                          1/11/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
OXFORD, NC 27565                       09-12515                                       the sole authority to properly assert a claim on account of benefits
                                       Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                       (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

BALL, LORETTA E                        6656                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
1709 ENON ROAD                         1/11/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
OXFORD, NC 27565                       09-12515                                       the sole authority to properly assert a claim on account of benefits
                                       Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                       (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

BEASLEY, PATSY J                       7072                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
P O BOX 935                            2/4/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
CONYERS, GA 30012-0935                 09-12515                                       the sole authority to properly assert a claim on account of benefits
                                       Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                       (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

BEASLEY, PATSY J                       7073                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
P O BOX 935                            2/4/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
CONYERS, GA 30012-0935                 09-12515                                       the sole authority to properly assert a claim on account of benefits
                                       Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                       (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                   Page 1 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                           Case 09-10138-MFW       Doc 9373-4        Filed 02/05/13     Page 3 of 9

                                                         Exhibit C
                                                No-Basis Pension Claims


Claim to be Expunged
                                      Claim Number
                                      Date Filed                Total Amount          Reason for
Name/Address of Claimant              Case Info                    Claimed            Disallowance

BRACE, L STEPHEN                      6304                                - (S)       The claim asserts liability for defined benefit pension benefits.
76 METROPOLITAN AVE                   12/18/09                            - (A)       Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
ASHLAND, MA 01721                     09-12515                   $10,000.00 (P)       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks             $6,326.38 (U)       under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.               $16,326.38 (T)       Basis Pension Claim is not a liability of the Debtors or their estates.

DANIELS, TANYA                        2820                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
2676 BERMAN ROAD                      9/11/09                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
NORTH AURORA, IL 60542                NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

DINAPOLI, VINCENT A                   6886                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
48 HALF MOON TRAIL                    1/25/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
S KINGSTON, RI 02879                  09-12515                                        the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

EUBANKS, GAYLA E                      2588                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
1193 ADAMS MOUNTAIN RD.               9/3/09                                          Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
STEM, NC 27581                        NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

FOSTER, KAREN D.                      8344                                - (S)       The claim asserts liability for defined benefit pension benefits.
9231 VINEWOOD DRIVE                   8/20/12                             - (A)       Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
DALLAS, TX 75228                      09-10138                   $67,596.00 (P)       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks Inc.                - (U)       under a single-employer pension plan. Therefore, claimant's No-
                                                                 $67,596.00 (T)       Basis Pension Claim is not a liability of the Debtors or their estates.

GODFREY, CLAUDE W                     2361                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
4809 34TH AVE N                       8/31/09                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
GOLDEN VALLEY, MN 55422               NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                   Page 2 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                           Case 09-10138-MFW       Doc 9373-4       Filed 02/05/13     Page 4 of 9

                                                        Exhibit C
                                               No-Basis Pension Claims


Claim to be Expunged
                                      Claim Number
                                      Date Filed                Total Amount         Reason for
Name/Address of Claimant              Case Info                    Claimed           Disallowance

GOODE, TERESA V                       2056                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
2661 NEW HP CH RD                     8/24/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
RALEIGH, NC 27604                     NO DEBTOR                                      the sole authority to properly assert a claim on account of benefits
                                                                                     under a single-employer pension plan. Therefore, claimant's No-
                                                                                     Basis Pension Claim is not a liability of the Debtors or their estates.

HOPKINS, DAWN                         6551                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
1212 TEMPLE CREST DRIVE               1/4/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
FRANKLIN, TN 37069                    09-12515                                       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

HOPKINS, DAWN                         6552                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
1212 TEMPLE CREST DR                  1/4/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
FRANKLIN, TN 37069-7219               09-12515                                       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

JETTON, JOANIE D                      7017                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
704 CLAIBORNE STREET                  1/26/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
APT B                                 09-12515                                       the sole authority to properly assert a claim on account of benefits
GOLDSBORO, NC 27530                   Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

JETTON, JOANIE D                      7261                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
704 CLAIBORNE STREET                  5/17/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
APT B                                 09-12515                                       the sole authority to properly assert a claim on account of benefits
GOLDSBORO, NC 27530                   Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

JETTON, JOANIE D.                     7018                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
704-B E. CLAIBORNE ST.                1/26/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
GOLDSBORO, NC 27530                   09-12515                                       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                  Page 3 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                           Case 09-10138-MFW       Doc 9373-4        Filed 02/05/13     Page 5 of 9

                                                         Exhibit C
                                                No-Basis Pension Claims


Claim to be Expunged
                                      Claim Number
                                      Date Filed                Total Amount          Reason for
Name/Address of Claimant              Case Info                    Claimed            Disallowance

JETTON, JOANIE D.                     7262                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
704-B E. CLAIBORNE ST.                5/17/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
GOLDSBORO, NC 27530                   09-12515                                        the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

KENNEDY, LOUISE N                     2622                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
3512 SCENIC DR                        9/4/09                                          Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
DENVILLE, NJ 07834                    NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

KETTLEDON, LORRAINE                   6698                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
1726 CORBIN AVE                       1/13/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
NEW BRITAIN, CT 06053                 09-12515                                        the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

KETTLEDON, LORRAINE A                 6699                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
1726 CORBIN AVENUE                    1/13/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
NEW BRITAIN, CT 06053                 09-12515                                        the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

KLAMMER, DALE N.                      2699                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
11044 TERRACE RD. NE                  9/8/09                                          Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
MINNEAPOLIS, MN 55434                 NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

LA CHAPELLE, DONNA                    5422                                - (S)       The claim asserts liability for defined benefit pension benefits.
23 SIROS                              9/30/09                             - (A)       Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
LAGUNA NIGUEL, CA 92677               09-10138                  $304,517.00 (P)       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks Inc.                - (U)       under a single-employer pension plan. Therefore, claimant's No-
                                                                $304,517.00 (T)       Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                   Page 4 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                           Case 09-10138-MFW       Doc 9373-4        Filed 02/05/13     Page 6 of 9

                                                         Exhibit C
                                                No-Basis Pension Claims


Claim to be Expunged
                                      Claim Number
                                      Date Filed                Total Amount          Reason for
Name/Address of Claimant              Case Info                    Claimed            Disallowance

LARA, ENRIQUE                         1221                                - (S)       The claim asserts liability for defined benefit pension benefits.
17042 WESTGROVE DR.                   5/22/09                             - (A)       Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
ADDISON, TX 75001                     09-10138                   $27,500.00 (P)       the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks Inc.                - (U)       under a single-employer pension plan. Therefore, claimant's No-
                                                                 $27,500.00 (T)       Basis Pension Claim is not a liability of the Debtors or their estates.

LE, JOHN Q.                           3783                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
4417 KELLY DR.                        9/25/09                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
RICHARDSON, TX 75082                  NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

LITTLE, DONNA                         6431                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
PO BOX 1082                           12/28/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
SPRINGFIELD, TN 37172                 09-12515                                        the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

LITTLE, DONNA M                       5787                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
PO BOX 1082                           10/1/09                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
SPRINGFIELD, TN 37172                 NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                      under a single-employer pension plan. Therefore, claimant's No-
                                                                                      Basis Pension Claim is not a liability of the Debtors or their estates.

LITTLE, DONNA M.                      6432                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
PO BOX 1082                           12/28/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
SPRINGFIELD, TN 37172                 09-12515                                        the sole authority to properly assert a claim on account of benefits
                                      Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

LUBBERS, THOMAS                       6500                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
5607 GREEN CIRCLE DRIVE               12/29/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
APT 1                                 09-12515                                        the sole authority to properly assert a claim on account of benefits
MINNETONKA, MN 55343                  Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                      (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                   Page 5 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                            Case 09-10138-MFW       Doc 9373-4        Filed 02/05/13     Page 7 of 9

                                                          Exhibit C
                                                 No-Basis Pension Claims


Claim to be Expunged
                                       Claim Number
                                       Date Filed                Total Amount          Reason for
Name/Address of Claimant               Case Info                    Claimed            Disallowance

LUBBERS, THOMAS F                      6499                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
5607 GREEN CIRCLE DR                   12/29/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
APT 1                                  09-12515                                        the sole authority to properly assert a claim on account of benefits
MINNETONKA, MN 55343                   Nortel Networks                                 under a single-employer pension plan. Therefore, claimant's No-
                                       (CALA), Inc.                                    Basis Pension Claim is not a liability of the Debtors or their estates.

NGUYEN, LONG                           5761                                - (S)       The claim asserts liability for defined benefit pension benefits.
2961 CRYSTAL SPRINGS LANE              10/1/09                             - (A)       Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
RICHARDSON, TX 75082                   09-10138                  $100,000.00 (P)       the sole authority to properly assert a claim on account of benefits
                                       Nortel Networks Inc.                - (U)       under a single-employer pension plan. Therefore, claimant's No-
                                                                 $100,000.00 (T)       Basis Pension Claim is not a liability of the Debtors or their estates.

POLITZ, JOHN                           6749                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
211 HILL STREET                        1/19/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
FARMERSVILLE, TX 75442                 NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                       under a single-employer pension plan. Therefore, claimant's No-
                                                                                       Basis Pension Claim is not a liability of the Debtors or their estates.

POLITZ, JOHN B.                        6748                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
211 HILL ST.                           1/19/10                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
FARMERSVILLE, TX 75442                 09-10138                                        the sole authority to properly assert a claim on account of benefits
                                       Nortel Networks Inc.                            under a single-employer pension plan. Therefore, claimant's No-
                                                                                       Basis Pension Claim is not a liability of the Debtors or their estates.

PRESCOTT, SILVAN A                     2835                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
114 45 173 ST                          9/11/09                                         Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
ST ALBANS, NY 11434                    NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                       under a single-employer pension plan. Therefore, claimant's No-
                                                                                       Basis Pension Claim is not a liability of the Debtors or their estates.

SCOTT, RACHEL B                        6133                           Unspecified*     The claim asserts liability for defined benefit pension benefits.
3321 EZELL ROAD                        11/16/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
NASHVILLE, TN 37211                    NO DEBTOR                                       the sole authority to properly assert a claim on account of benefits
                                                                                       under a single-employer pension plan. Therefore, claimant's No-
                                                                                       Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                    Page 6 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                              Case 09-10138-MFW       Doc 9373-4       Filed 02/05/13     Page 8 of 9

                                                           Exhibit C
                                                  No-Basis Pension Claims


Claim to be Expunged
                                         Claim Number
                                         Date Filed                Total Amount         Reason for
Name/Address of Claimant                 Case Info                    Claimed           Disallowance

SHARP, JOHN B III                        6369                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
2733 W AGATITE AVE                       12/22/09                                       Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
CHICAGO, IL 60625-3801                   09-12515                                       the sole authority to properly assert a claim on account of benefits
                                         Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                         (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

SNYDER, TONY P                           4331                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
8317 OLD NC HWY 86                       9/28/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
CHAPEL HILL, NC 27516                    NO DEBTOR                                      the sole authority to properly assert a claim on account of benefits
                                                                                        under a single-employer pension plan. Therefore, claimant's No-
                                                                                        Basis Pension Claim is not a liability of the Debtors or their estates.

STARKS, LAWRENCE L                       7362                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
5149 WEST WASHINGTON STREET              7/29/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
CHICAGO, IL 60644                        09-12515                                       the sole authority to properly assert a claim on account of benefits
                                         Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                         (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.

STOUT, NORMAN T                          1780                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
12138 CEMENT HILL RD                     8/18/09                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
NEVADA CITY, CA 95959                    NO DEBTOR                                      the sole authority to properly assert a claim on account of benefits
                                                                                        under a single-employer pension plan. Therefore, claimant's No-
                                                                                        Basis Pension Claim is not a liability of the Debtors or their estates.

TURNER, JUANITA M                        2374                                - (S)      The claim asserts liability for defined benefit pension benefits.
7116 BLAYLOCK RD                         8/31/09                             - (A)      Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
BAHAMA, NC 27503                         NO DEBTOR                  $21,000.00 (P)      the sole authority to properly assert a claim on account of benefits
                                                                             - (U)      under a single-employer pension plan. Therefore, claimant's No-
                                                                    $21,000.00 (T)      Basis Pension Claim is not a liability of the Debtors or their estates.

UNDERWOOD, WILMA FAYE                    6831                          Unspecified*     The claim asserts liability for defined benefit pension benefits.
584 HERMITAGE DR                         1/22/10                                        Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
SAN JOSE, CA 95134                       09-12515                                       the sole authority to properly assert a claim on account of benefits
                                         Nortel Networks                                under a single-employer pension plan. Therefore, claimant's No-
                                         (CALA), Inc.                                   Basis Pension Claim is not a liability of the Debtors or their estates.




(S) - Secured                                                                                                                                     Page 7 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
                                                  Case 09-10138-MFW                   Doc 9373-4           Filed 02/05/13            Page 9 of 9

                                                                                             Exhibit C
                                                                                    No-Basis Pension Claims


Claim to be Expunged
                                                                        Claim Number
                                                                        Date Filed                      Total Amount              Reason for
Name/Address of Claimant                                                Case Info                          Claimed                Disallowance

WELSH, KELLY                                                            6278                                       - (S)          The claim asserts liability for defined benefit pension benefits.
32 VICTORIA RD                                                          12/15/09                                   - (A)          Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
NORTH BABYLON, NY 11703                                                 09-10138                          $26,296.94 (P)          the sole authority to properly assert a claim on account of benefits
                                                                        Nortel Networks Inc.                       - (U)          under a single-employer pension plan. Therefore, claimant's No-
                                                                                                          $26,296.94 (T)          Basis Pension Claim is not a liability of the Debtors or their estates.

WONG, FREDDIE F                                                         6442                                Unspecified*          The claim asserts liability for defined benefit pension benefits.
88 FRANCIS ST UNIT 1                                                    12/28/09                                                  Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
WALTHAM, MA 02451-4366                                                  09-12515                                                  the sole authority to properly assert a claim on account of benefits
                                                                        Nortel Networks                                           under a single-employer pension plan. Therefore, claimant's No-
                                                                        (CALA), Inc.                                              Basis Pension Claim is not a liability of the Debtors or their estates.

WONG, FREDDIE F                                                         6443                                Unspecified*          The claim asserts liability for defined benefit pension benefits.
88 FRANCIS ST UNIT 1                                                    12/28/09                                                  Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
WALTHAM, MA 02451-4366                                                  09-12515                                                  the sole authority to properly assert a claim on account of benefits
                                                                        Nortel Networks                                           under a single-employer pension plan. Therefore, claimant's No-
                                                                        (CALA), Inc.                                              Basis Pension Claim is not a liability of the Debtors or their estates.

YOUNG, TINA L                                                           3727                                       - (S)          The claim asserts liability for defined benefit pension benefits.
670 W. WALCOTT                                                          9/24/09                                    - (A)          Pursuant to ERISA, the Pension Benefit Guaranty Corporation is
PILOT POINT, TX 76258                                                   NO DEBTOR                      $1,000,000.00 (P)          the sole authority to properly assert a claim on account of benefits
                                                                                                                   - (U)          under a single-employer pension plan. Therefore, claimant's No-
                                                                                                       $1,000,000.00 (T)          Basis Pension Claim is not a liability of the Debtors or their estates.

 Totals:                                                                46 Claims                                  - (S)
                                                                                                                   - (A)
                                                                                                       $1,556,909.94 (P)
                                                                                                           $6,326.38 (U)
                                                                                                       $1,563,236.32 (T)

   * The term "unspecified" refers to claims for dollar amounts listed as "unknown", "$0.00", "unascertainable", "undetermined", or where no dollar amounts were entered in the spaces provided on
   the proof of claim form.




(S) - Secured                                                                                                                                                                               Page 8 of 8
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
